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                         IN THE UNITED STATES DISTRICT COURT
                                       DISTRICT OF UTAH


  UNITED STATES OF AMERICA,                         Case No. 2:22cr00096

          Plaintiff,                                   SECOND NOTICE OF COMPLIANCE
                                                        AND REQUEST FOR RECIPROCAL
          vs.                                                   DISCOVERY

  SIOSIFA POUILIEVA LAVULAVU,

          Defendant.                                Judge Howard C. Nielson, Jr.


       The United States of America, by and through the undersigned, hereby files its second

notice of compliance with its discovery obligations in this case and request for reciprocal

discovery from the defendant.

       The United States gives notice that the following is being or has been provided to counsel

for the defendant:

                Description                                     Bates Numbers

 Financial Records, Background                See attached discovery index
 Information, Interview, and Reports
 uploaded to USAfx (NOC 2)

       Pursuant to Rule 12(b)(4)(A) of the Federal Rules of Criminal Procedure, the United

States notified the defense that at trial, the United States may seek to use all physical evidence,

statements made by the defendant and others, police reports, phone records, electronic evidence

(including body camera footage), documents, and photographs obtained during the investigation.
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The United States reserves the right to introduce in its case-in-chief all tangible objects, physical,

documentary, and electronic evidence, and all other evidence provided, made available, or

identified in discovery.

       As additional discoverable material becomes available, such material will be provided

within a reasonable time. Throughout this case, the United States will provide material

discoverable under Rules 16 and 26.2 of the Federal Rules of Criminal Procedure and the Jencks

Act without requiring the defendant to make a specific request for such material. Upon the

request of the defendant, the United States will permit and facilitate the defendant’s own

inspection, copying or photographing of those items described/defined in Rule 16(a)(1)(E).

       The United States also hereby requests disclosure of evidence by the defendant (also

known as reciprocal discovery) pursuant to Rule 16(b) of the Federal Rules of Criminal

Procedure and DUCrimR 16-1(c). By providing Rule 16 discovery without requiring a specific

request from the defense, the United States invokes a reciprocal obligation on the defendant

under DUCrimR 16-1(c), which states that the defendant must allow the government to inspect

and to copy the following, as further defined in Rule 16 of the Federal Rules of Criminal

Procedure:

               a.      Documents and tangible objects the defendant intends to introduce as

                       evidence at trial;

               b.      Reports of examinations and tests the defendant intends to introduce at

                       trial or that were prepared by a witness whom the defendant intends to call

                       at trial; and

               c.      A written summary of the testimony of any expert the defendant intends to

                       use a trial under Federal Rules of Evidence 702, 703 and 705.



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The United States requests that the defendant provide to the government at a reasonable time

before trial, but no later than five working days before trial, copies of the material referenced in

this paragraph. Further, the United States requests continuing compliance with the reciprocal

discovery following the initial disclosure.

       The United States also hereby requests all written and recorded statements by any witness

other than the defendant whom the defendant intends to call at trial or a hearing covered by the

Jencks Act or Rule 26.2 of the Federal Rules of Criminal Procedure.

       DATED this 1st day of July, 2022.

                                               TRINA A. HIGGINS
                                               United States Attorney


                                               /s/Jamie Z. Thomas
                                               JAMIE Z. THOMAS
                                               Assistant United States Attorney




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                               CERTIFICATE OF SERVICE

       I certify that on the 1st day of July, 2022, the SECOND CERTIFICATE OF

COMPLIANCE AND REQUEST FOR RECIPROCAL DISCOVERY was filed electronically to

the District Court, and caused to be made available for download from USAfx, to the following:

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                                           /s/ Melissa McKinnon
                                           Melissa McKinnon, Supervisory Paralegal




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